Case 2:09-cv-06244-WJM-MF          Document 18-3       Filed 02/18/10     Page 1 of 1 PageID: 104




                              UNITED STATES DISTRICT COURT
                                 DISTRICT OF NEW JERSEY

  EMERGENCY PHYSICIANS OF ST.                        Civil Action No. 09-cv-6244-WJM-MF
  CLARE’S, LLC, MERCER BUCKS
  ORTHOPEDICS, PC, and PASCACK                       [PROPOSED] ORDER
  EMERGENCY SERVICES,

  On behalf of themselves and all others similarly
  situated,

                Plaintiffs,
  v.

  PROASSURANCE CORPORATION,
  PROASSURANCE CASUALTY COMPANY,
  and PROASSURANCE
  INDEMNITY COMPANY, INC.,

                Defendants.

         THIS MATTER having being brought before the Court by defendants ProAssurance

  Corporation, ProAssurance Casualty Company, and ProAssurance Indemnity Company, Inc. for

  an Order pursuant to Federal Rules of Civil Procedure 12(b)(1) and 12(b)(6) compelling

  arbitration or, in the alternative dismissing the Complaint, and the Court having reviewed the

  written submissions of counsel for the parties, and having heard the arguments of counsel, and

  for good cause shown,

         IT IS ORDERED on this _______ day of ________, 2010, that:

         1.     Defendants’ motion is granted; and

         2.     the Complaint against Defendants ProAssurance Corporation, ProAssurance

                Casualty Company, and ProAssurance Indemnity Company, Inc. is dismissed.



                                       The Honorable William J. Martini
                                       United States District Judge
